           2:19-cv-02167-CSB-EIL # 7            Page 1 of 1                                           E-FILED
Judgment in a Civil Case (02/11)                                             Monday, 01 July, 2019 03:45:43 PM
                                                                                 Clerk, U.S. District Court, ILCD
                             UNITED STATES DISTRICT COURT
                                                 for the
                                        Central District of Illinois

Ralph E. Peterson                                )
                                                 )
                    Plaintiff,                   )
                                                 )
                               vs.               )        Case Number: 19-cv-2167
                                                 )
Champaign County Illinois, Brian                 )
McPheters, Jamie Hitt                            )
                                                 )
                    Defendant.                   )

                                     JUDGMENT IN A CIVIL CASE

  ☐ JURY VERDICT. This action came before the Court for a trial by jury.                The issues
have been tried and the jury has rendered its verdict.

  ☒ DECISION BY THE COURT.                    This action came before the Court, and a decision has
been rendered.

      IT IS ORDERED AND ADJUDGED that plaintiff’s claim against the defendant is
dismissed.

Dated: 7/1/2019P

                                                          s/ Shig Yasunaga
                                                          Shig Yasunaga
                                                          Clerk, U.S. District Court
